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9    Attorneys for Defendants

10                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
12
     STATE OF CALIFORNIA, et al.,
13                                                     Case No. 3:20-cv-03005-RS
                            Plaintiffs,                ORDER
14                                                     STIPULATED MOTION TO AMEND
15                  v.                                 CASE MANAGEMENT STATEMENT

16   ANDREW R. WHEELER, as the                         Complaint Filed: May 1, 2020

17   Administrator of the United States
     Environmental Protection Agency, et al.,
18
                            Defendants,
19
20                  and

21   STATE OF GEORGIA, et al.,
22                        Defendant-Intervenors.
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                                  STIPULATED MOTION TO AMEND CASE MANAGEMENT STATEMENT
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1          Pursuant to Local Rule 7-12, Plaintiffs 1, Defendants 2, and State Intervenor-Defendants 3
2    (collectively, the “Parties”) stipulate to amend Section 17.A of their joint case management
3    statement, which provides a production schedule for documents in the Administrative Record
4    that Defendants assert are subject to copyright, Dkt. No. 207 at 7-8 (Section 17.A), and replace
5    it with the schedule set forth on page 2 below. Accordingly, the Parties respectfully request that
6    the Court amend its order granting the proposed production schedule, Dkt. No. 208 (adopting
7    the Parties’ agreed upon document production schedule in its entirety) to reflect the Parties’
8    agreement.
9          The Parties have good cause in stipulating to this amendment. Defendants have agreed
10   not to seek a protective order governing the provision and use of copyrighted documents in the
11   Administrative Record and the Parties will not be filing a proposed protective order with the
12   Court. Indeed, copyrighted documents exchanged in the course of litigation and used solely for
13   that litigation are considered “fair use.” See, e.g., Stern v. Does, 978 F. Supp. 2d 1031, 1047
14   (C.D. Cal. 2011), aff’d sub nom. Stern v. Weinstein, 512 F. App’x 701 (9th Cir. 2013)
15   (“Reproduction of copyrighted material for use in litigation or potential litigation is generally
16   fair use, even if the material is copied in whole.”). In lieu of a protective order, Defendants will
17   produce copyrighted documents with limiting instructions.
18
19
20   1Plaintiffs are the States of California, New York, Connecticut, Illinois, Maine, Maryland,
     Michigan, New Jersey, New Mexico, North Carolina, Oregon, Rhode Island, Vermont,
21   Washington and Wisconsin, the Commonwealths of Massachusetts and Virginia, the North
22   Carolina Department of Environmental Quality, the District of Columbia, and the City of New
     York.
23
     2Defendants are the United States Environmental Protection Agency (EPA), EPA
24
     Administrator Andrew Wheeler, the United States Army Corps of Engineers (Army Corps),
25   and Assistant Secretary of the Army for Civil Works R.D. James.

26   3State Intervenor-Defendants are the States of Georgia, West Virginia, Alabama, Alaska,
     Arkansas, Idaho, Indiana, Kansas, Kentucky, Louisiana, Mississippi, Missouri, Montana,
27
     Nebraska, North Dakota, Ohio, Oklahoma, South Carolina, South Dakota, Tennessee, Texas,
28   Utah, and Wyoming.

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1          Accordingly, the Parties have agreed to the following revision to Section 17.A of the
2    case management statement (Dkt. No. 207 at 7-8):
3
           A.    The Parties’ Proposed Schedule Regarding Production of All Documents in the
4               Administrative Record for the 2020 Rule
5
6          The Parties discussed the production of the documents in the administrative record that

7    Defendants assert are copyrighted and/or are physical files that are part of the administrative
8    record but are not accessible on the docket for the 2020 Rule at regulations.gov and have not
9    been produced, and were able to agree as follows:
10
11
12   Deadline                                            Action
13
     September 17, 2020                                  Defendants will provide Plaintiffs and State
14                                                       Intervenors with electronic copies of the
                                                         physical files that are part of the
15                                                       administrative record and are not subject to
                                                         copyright but are in a file size/format that is
16
                                                         not accessible on regulations.gov. Defendants
17                                                       shall make these documents available to the
                                                         Court and will do so pursuant to the Court’s
18                                                       future instructions regarding its preferred
                                                         manner for receipt of the administrative
19
                                                         record.
20   October 1, 2020                                     Defendants will provide Plaintiffs and State
                                                         Intervenors access to electronic copies of
21                                                       every document in the administrative record,
22                                                       including copyrighted documents with
                                                         limiting instructions. Defendants shall make
23                                                       these documents available to the Court and
                                                         will do so pursuant to the Court’s future
24                                                       instructions regarding its preferred manner for
25                                                       receipt of the administrative record.

26
                                                Respectfully submitted,
27
     DATED: September 2, 2020                  /s/ Hubert T. Lee
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1    PURSUANT TO STIPULATION, IT IS SO ORDERED.
2
3            September 24, 2020
     DATED: ________________________ _____________________________________
4                                     United States District Judge Richard Seeborg
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